              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                CRIMINAL CASE NO. 1:17-cr-00040


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )               ORDER
                                )
JOSEPH SAMUEL DAVIS and         )
LEROY MILLER, Jr.,              )
                                )
                   Defendants.  )
_______________________________ )

      THIS MATTER is before the Court on Defendant Miller’s Unopposed

Motion to Continue Jury Trial and Motion to Seal Declaration. [Doc. 34].

      On April 4, 2017, the Defendants were charged in a Bill of Indictment.

[Doc. 1]. Defendant Joseph Samuel Davis (“Defendant Davis”) was charged

with one count of conspiracy to commit Federal Program Fraud in violation

of 18 U.S.C. § 666. [Doc. 1]. Defendant Leroy Miller, Jr., (“Defendant Miller”)

was charged with one count of conspiracy to commit Federal Program Fraud

in violation of 18 U.S.C. § 666, one count of Federal Program Fraud in

violation of 18 U.S.C. § 666(a)(1)(B), one count of extortion under color of

official right in violation of 18 U.S.C. § 1951, and one count of witness

tampering in violation of 18 U.S.C. § 1512(b)(3). [Doc. 1].



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      The Defendants’ initial appearances and arraignments were held on

April 12, 2017, at which time the Magistrate Judge appointed counsel for the

Defendants and the case was placed on the May 1, 2017 calendar for trial.

The Magistrate Judge then continued the case pursuant to 18 U.S.C. §

3161(c)(2) to the June 19, 2017 trial term. On June 6, 2017, the Court

continued the case to the September 5, 2017 trial term. [Doc. 24].             On

August 18, 2017, the Court continued the case to the November 6, 2017 trial

term. [Doc. 27]. On October 25, 2017, the Court continued the case to the

January 2, 2018 trial term. On November 21, 2017, the docket call in this

matter was reset to the January 3, 2018 trial term. On December 19, 2017,

the matter was continued to its current setting during the March 5, 2018 trial

term. [Doc. 33].

      Defendant Miller now moves to continue the case and to seal a

declaration filed in support of the motion to continue. [Doc. 34]. As grounds,

counsel states that additional time is needed because of personal

circumstances of Defendant Miller that are outlined in a declaration counsel

filed under seal in support of the motion to continue. [Doc. 35]. Counsel

represents that the Government does not oppose the requested

continuance. [Doc. 34]. Defendant Davis filed a response to Defendant




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Miller’s motion to continue in which he states he has no objection to the case

being continued as requested by Defendant Miller. [Doc. 36].

      Based on and in light of the information presented in the sealed

declaration presented in support of Defendant Miller’s motion to continue,

the Court finds that the case should be continued and that Defendant’s

motion to seal the declaration should be granted. The Court finds that, under

the circumstances, a failure to continue the case would result in a

miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(A).

      The Court finds the case should also be continued with respect to

Defendant Davis. Because no motion for severance has been granted, the

continuance of co-Defendant Miller’s case justifies the continuance of

Defendant Davis’ case as well. See 18 U.S.C. § 3161(h)(6) (allowing for

exclusion of “a reasonable period of delay when the defendant is joined for

trial with a codefendant as to whom the time for trial has not run and no

motion for severance has been granted.”).

      For the reasons stated herein, the ends of justice served by the

granting of the continuances outweigh the best interests of the public and

the Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

      IT IS, THEREFORE, ORDERED that Defendant Miller’s Unopposed

Motion to Continue Jury Trial and Motion to Seal Declaration [Doc. 34] is

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GRANTED, and the above-referenced Defendants are hereby CONTINUED

from the March 5, 2018 term in the Asheville Division.

       IT IS SO ORDERED.

 Signed: February 20, 2018




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